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                            IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINA
                                       Alexandria Division

 ECOLOGY MIR GROUP, LLC,                            :
                                                    :
           Plaintiff,                               :
                                                    :
 v.                                                 :    Civil Action No.: 1:17-cv-00755-LMB-IDD
                                                    :
 JOSEPH J. HANSON, et al.,                          :
                                                    :
      Defendants.                                   :
 ___________________________________

               DEFENDANTS’ REPLY TO PLAINTIFF’S BRIEF IN OPPOSITION TO
                 DEFENDANTS’ MOTION TO DISMISS UNDER RULE 12(B)(6)

           Defendants’ disagree with the arguments proffered by the Plaintiff in its Opposition to

Defendants’ Motion to Dismiss (“Memo in Opp.”) and largely rests on the arguments and

caselaw contained in its Memorandum in Support of Defendants’ Motion to Dismiss (doc..

           However, the following points are worth the Court’s attention considering the Plaintiff’s

arguments:

      I.       Ambiguity Another Means to Overbreadth

           In an attempt to narrow the breadth of the confidentiality provision, EMG argues that

“although the provision contains a long list of the type of information that may fall within its

scope, all such information must have been treated ‘secret or confidential’ by EMG or its

business partners to be protected.” (Memo in Opp. p. 6). If this were the only interpretation, the

Defendant would agree.

           Such a reading requires the reader the Court to treat the phrase “that are treated as or

designated secret or confidential,”(Compl. Ex. A, § 1), as a postpositive modifier that applies to

every preceding noun and phrase before it in the Agreement. The Series-Qualifier Canon
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provides that “[w]hen there is a straightforward, parallel construction that involves all nouns or

verbs in a series, a prepositive or postpositive modifier normally applies to the entire series.”

Antonin Scalia, et al., Reading Law: The Interpretation of Legal Texts 147-151 (Thomson/West

1st ed. 2012)

       The long list of nouns and phrases before the modifier, “that are treated as or designated

secret or confidential,” are not grammatically parallel, in which case the Nearest-Reasonable-

Referent Canon applies, which provides “[w]hen the syntax involves something other than a

parallel series of nouns or verbs, a prepositive or postpositive modifier normally applies only to

the nearest reasonable referent.” Id. at 152-53. In this construction, only the nouns “other

information or procedures” are modified by the phrase “that are treated as or designated secret or

confidential.” The modifier would not apply to the phrase “all rights and information necessary

to produce/market all products of Company and to conduct business of Company as conducted or

planned or which pertains in any manner to subjects or knowledge of the business or operation of

Company or other information, tangible or intangible, owned, developed or possessed by

company, whether or not marked as ‘confidential’. . .” Application of the Nearest-Reasonable-

Referent Canon renders the confidentiality provision of this Agreement impermissibly broad and

unenforceable, reflecting no balance between the employer and “the employee’s general right to

make sure of knowledge and skills acquired through experience in the field for which he is best

suited.” Lasership, Inc. v. Watson, 79 Va. Cir. 205, 210 (Fairfax 2009). The Plaintiff does not

even offer a defense to this interpretation.

       “As a restraint of trade, the covenant must be strictly construed and, if ambiguous, it must

be construed in favor of the employee.” Motion Control Sys., Inc. v. East, 262 Va. 33, 37 (2001).

When a restraint is susceptible to multiple meanings, one or which is overbroad, and thus
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unenforceable, the clause fails. See Lanmark Tech, Inc. v. Canales, 454 F. Supp. 2d 524, 529

(E.D. Va. 2006).

              EMG also attempts to argue that the contract was merely meant to memorialize a

common law duty not to reveal confidential information. Memo in Opp. p. 6. EMG cites two

cases for this proposition, one forty six (46) years old1 and the other fifty four (54) years old2,

neither of which identify any Virginia source for this “common law.” The Plaintiff has not

alleged a common law claim for violation of fiduciary duty, the Plaintiff has alleged breach of

contract. By requesting that this Court consider parol evidence to explain the written contract,

EMG admits that the contract contains an ambiguity3 and, therefore, must be interpreted in favor

of the employee, Mr. Hanson, pursuant to Virginia law.

       II.            Noncompete Overbreadth Not Cured by Type of Business at Issue

              EMG also argues that an unlimited geographic scope of the “noncompete” is not

unreasonable in this matter given the nature of government contracting business at issue. This

might be true if the restrictive covenant only limited Mr. Hanson from working for businesses

competitive with EMG and rendering competing services. However, the noncompete at issue

here has no such limitation as it prevents Mr. Hanson from being “employed in a business

substantially similar to . . . the present business of the Company.”(Compl. Ex. A, § 7) For

example, because Mr. Hanson is prevented from working for a substantially similar company


                                                            
1
     Bull v. Logetronics, Inc., 323 F. Supp. 115, 133 (E.D. Va. 1971) 

2
     Community Counseling Service v. Reilly, 317 F.2d 239, 244 (4th Cir. 1963)

3
     Galloway Corp. v. S.B. Ballard Const. Co., 250 Va. 493, 502 (1995)(“If the terms of the
parties’ agreement are contained in a clear and explicit writing, that writing is the sole memorial
of the contract and the sole evidence of the agreement. In that event, parol evidence cannot be
sued to explain the written contractual terms.”)
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worldwide, even if that business does not compete with EMG, Mr. Hanson would be prevented

for working for a company, in any capacity, that bids on contracts with the governments of

foreign nations where EMG does not operate. On its face, this is an unreasonable restraint of

trade and protects no legitimate business interest of EMG.

   III.       Virginia State Courts Refuse to “Blue-Pencil” Invalid Covenants Even When
              Saving’s Clause in Contract Instructs Otherwise

          EMG argues that the Court may reform, or “blue pencil,” the Contract based on a Partial

Invalidation provision which provides that if any portion of the Agreement is to be held invalid,

unenforceable, or void, the parties agree that the portion so held “shall, if possible, be deemed

amended or reduced in scope.” Memo in Opp., p. 11(citing Compl. Ex. A. § 12).

          This exact issue was decided by a Fairfax Circuit Court, which held that a “savings

clause” in a contract, which allowed a court to narrow the effect of a restrictive covenant, invites

the judiciary to become the employer’s scrivener. See N. Virginia Psychiatric Group, P.C. v.

Halpern, 19 Va. Cir. 279, 1990 WL 10039277, at *2 (1990). The Court declined to narrow the

contract noting that nothing in court’s history suggests that a Virginia court would willingly

place itself in such an unrestrained position. Id. Furthermore, the Court also believed that

adopting a “blue pencil” rule would conflict with the Virginia Constitutional clause prohibiting

interference with contracts. Id. (citing Va. Const. Art. I, § 11).

   IV.        Uniform Trade Secrets Act Does Not Create Other Civil Remedies

          In support of its argument that the Defendants are “plainly wrong” in stating that

conversion does not apply intangible property other than that merged with a document, the

Plaintiff cites to the Uniform Trade Secrets Act (“USTA”) which provides that it does not

displace other civil remedies that are not based on a misappropriation of a trade secret. Memo in

Opp. p. 21.
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       It is unclear how the statute cited by the Plaintiff supports its position as it merely

disclaims any effect on civil remedies not based on misappropriation of a trade secret. See Va.

Code Ann. § 59.1-341. The two examples cited in the annotated code both hold that the USTA

does not preempt a “tortious interference with contractual relations” cause of action, which, if

nothing else, undermine the Plaintiff’s implication that this clause in the UTSA must be referring

to the existence of a conversion action for intangible property. See id. (citing Combined Inc. Co.

of Am. v. Wiest, 578 F.Supp. 2d 822(W.D. Va. 2008); Smithfield Ham & Products Co. Inc. v.

Portion Pac, Inc., 905 F. Supp. 346 (E.D. Va. 1995)).

       WHEREFORE, in consideration of the arguments made in their original Memorandum in

Support of the Motion to Dismiss (doc. 13), along with the additional arguments made in this

Reply Brief, the Defendants request that the Court grant this motion in all respects and dismiss

with prejudice Counts I, II, V, and VI of the Plaintiff’s Complaint.



                                              Respectfully Submitted,


                                              /s/ Nathan D. Baney__________
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                                CERTIFICATE OF SERVICE

        Nathan D. Baney, hereby certifies that on August 25th, 2017 he electronically filed the
foregoing Reply with the Clerk of Court using the CM/ECF system, which will then send a
notification of such filing (NEF) to the following:

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                              /s/ Nathan D. Baney__________
